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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


  UNITED STATES OF AMERICA                          CRIMINAL ACTION NO. 09-00246-02

  VERSUS                                            CIVIL ACTION NO. 11-00008

  ANTONIO C. CHURCH                                 JUDGE S. MAURICE HICKS, JR.



                                  MEMORANDUM RULING

         Before this Court is a Motion to Vacate, Set Aside, or Correct Sentence Under 28

  U.S.C. § 2255 (Record Document 96) filed by the Petitioner, Antonio C. Church (“Church”).

  Church seeks an order from the Court vacating his guilty plea and sentence, or remanding

  the case for re-sentencing, or granting his request for an evidentiary hearing on the ground

  that he received ineffective assistance of counsel. For the reasons set forth below,

  Church’s motion is DENIED.

                                        BACKGROUND

         Church was indicted in a nine-count indictment in which he was charged with two

  counts of being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and

  (2) (Counts 1, 5); with one count of possession with intent to distribute marijuana, in

  violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2 (Count 7); and with one count of

  possession of firearms in furtherance of a drug trafficking crime, in violation of 18 U.S.C.

  §§ 924(c)(1) and (2) (Count 8). The indictment also included one count of forfeiture of the

  firearms listed in the various counts of the indictment (Count 9). See Record Document 1.

         Church entered a guilty plea to Counts 7 and 8, pursuant to a written plea

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  agreement. See Record Documents 67. The district court sentenced defendant to 12

  months imprisonment as to Count 7 and 60 months consecutive as to Count 8 for a total

  term of 72 months imprisonment with credit for time served. See Record Document 75.

  The judgment was entered on April 30, 2010. Church did not appeal, but now files a timely

  motion to vacate under 28 U.S.C. § 2255 on January 4, 2011. See Record Document 96.

                                     LAW AND ANALYSIS

         After conviction and exhaustion of a defendant’s right to appeal, the Court is “entitled

  to presume that the defendant stands fairly and finally convicted.” U.S. v. Shaid, 937 F.2d

  228, 231-32 (5th Cir. 1991), quoting U.S. v. Frady, 456 U.S. 152, 164, 102 S.Ct. 1584,

  1592 (1982). “Our trial and appellate procedures are not so unreliable that we may not

  afford their completed operation any binding effect beyond the next in a series of endless

  post conviction collateral attacks. To the contrary, a final judgment commands respect.”

  Frady, 456 U.S. at 164-65, 102 S.Ct. at 1593. Consequently, issues that can be presented

  in a motion filed under 28 U.S.C. § 2255 are limited. A defendant can challenge a final

  conviction only on issues of constitutional or jurisdictional magnitude. See Shaid, 937 F.2d

  at 232. As the Fifth Circuit has stated:

                Relief under 28 U.S.C. § 2255 is reserved for transgressions
                of constitutional rights and for a narrow range of injuries that
                could not have been raised on direct appeal and would, if
                condoned, result in a complete miscarriage of justice.
                Nonconstitutional claims that could have been raised on direct
                appeal, but were not, may not be asserted in a collateral
                proceeding.

  U.S. v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

         Even if a defendant has issues that are constitutional or jurisdictional in nature, he

  may be procedurally barred from raising them. In order to raise an issue for the first time

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  on collateral review, a defendant must show both “cause” for his procedural default and

  “actual prejudice” resulting from the error. Id. at 168. To establish “cause,” a defendant

  must show some external impediment prevented him from raising the claim on direct

  appeal. See U.S. v. Flores, 981 F.2d 231, 235 (5th Cir. 1993). In order to meet the “actual

  prejudice” test, he must demonstrate not just the possibility of prejudice, “but an actual and

  substantial disadvantage, infecting his entire trial with error of constitutional dimension.”

  Shaid, 937 F.2d at 233.

         A narrow exception to the “cause and actual prejudice” requirement exists in

  extraordinary cases “in which a constitutional violation has probably resulted in the

  conviction of one who is actually innocent.”        Id. at 232.    The Supreme Court has

  emphasized that this exception is limited to only those cases involving “manifest

  miscarriages of justice” that would result in the continued incarceration of an innocent

  person.1 Id., citing Smith v. Murray, 477 U.S. 527, 537, 106 S.Ct. 2661, 2649 (1986).

  I.     Ineffective Assistance of Counsel.

         The general rule prohibiting a defendant from raising claims on collateral review

  absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

  counsel. Massaro v. United States, 538 U.S. 500, 504, 123 S.Ct. 1690, 1693, 155 L.Ed.

  2d 714 (2003). This “procedural-default rule is neither a statutory nor constitutional

  requirement, but it is a doctrine adhered to by the courts to conserve judicial resources and


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           To establish “actual innocence” in a case where the petitioner entered a plea of
  guilty, he must demonstrate that “in light of all the evidence, it is more likely than not that
  no reasonable juror would have convicted him.” Bousley v. United States, 523 U.S. 614,
  623, 118 S.Ct. 1604, 1611, 140 L.Ed.2d 828 (1998), citing Schlup v. Delo, 513 U.S. 298,
  327-28, 115 S.Ct. 851, 867-68, 130 L.Ed.2d 808 (1995).


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  to respect the law’s important interest in the finality of judgments.” Id. at 503. Requiring

  a criminal defendant to bring claims of ineffective assistance of counsel on a direct appeal

  does not promote these objectives. Id. A claim of ineffective assistance of counsel cannot

  be properly resolved on appeal because there has been no opportunity to develop the

  record on the merits of these allegations. United States v. Alanis, 88 Fed. Appx.15, 19 (5th

  Cir. 2004). Thus, a criminal defendant is permitted to bring ineffective assistance of

  counsel claims in a collateral proceeding under § 2255, regardless of whether such claims

  could have been raised on direct appeal. Id.

         To prevail on claims of ineffective assistance of counsel, Church must prove (1) that

  his counsel’s actions fell below an objective standard of reasonableness and (2) that his

  counsel’s ineffective assistance was prejudicial. See Strickland v. Washington, 466 U.S.

  668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); Bryant v. Scott, 28 F.3d 1411, 1414-15 (5th

  Cir. 1994). Under the first prong of the Strickland analysis, Church must show that his

  counsel “made errors so serious that counsel was not functioning as the ‘counsel’

  guaranteed the defendant by the Sixth Amendment.” Strickland, 466 U.S. at 687. The court

  is to presume that the attorney’s actions are encompassed within the wide range of

  reasonable competence and fall under the ambit of trial strategy. The defendant may

  overcome this presumption only by showing that under the “totality of the circumstances,”

  the attorney’s performance was “outside the wide range of professionally competent

  assistance.” Id., 466 U.S. at 690, 104 S.Ct. at 2066.

         Under the second prong of the Strickland test, Church must show “that there is a

  reasonable probability that, but for counsel’s specified errors, the result of the proceeding

  would have been different.” Murray v. Maggio, 736 F.2d 279, 282 (5th Cir. 1984). “A

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  reasonable probability is a probability to undermine confidence in the outcome.” Strickland,

  466 U.S. at 690, 104 S.Ct. at 2066. Church must demonstrate that the attorney’s actions

  “were so serious as to render the proceeding unreliable and fundamentally unfair.” United

  States v. Saenz-Forero, 27 F.3d 1016 1021 (5th Cir. 1994) citing Lockhart v. Fretwell, 506

  U.S. 364, 372, 113 S.Ct. 838, 844, 122 L.Ed.2d 180 (1993). If Church fails to establish

  either prong of the Strickland test, his claim of ineffective assistance of counsel must be

  denied. See Tucker v. Johnson, 115 F.3d 276, 280 (5th Cir. 1997); Bryant v. Scott, 28 F.3d

  1411, 1415 (5th Cir. 1994); Williams v. Collins, 16 F.3d 626, 631 (5th Cir. 1994).

         a. Allowing Church to Plead Guilty in Light of Bailey

         In his § 2255 motion (Record Document 96), Church claims that he received

  ineffective assistance of counsel when his attorney allowed him to plead guilty to Count

  8 of the Indictment (Record Document 1). The charge under Count 8 was “possession of

  firearms in relation to drug trafficking” under 18 U.S.C. § 924(c). See Record Document

  1. Church argues that under Bailey v. United States, 516 U.S. 137 (1995), the Government

  needed to prove that he had actively employed the firearm during the predicate offense,

  and that because the Government could not have done so, his attorney, in allowing him to

  plead guilty to Count 8, was acting in a manner below an objective standard of

  reasonableness. See Record Document 96. This argument is completely without merit.

         After the Supreme Court’s decision in Bailey, Congress amended 18 U.S.C. § 924(c)

  to provide specifically that in addition to “using” or “carrying” firearms “during and in relation

  to” a drug trafficking crime, “possession” of firearms “in furtherance of” a drug trafficking

  crime constitutes a violation of § 924(c). At the change of plea hearing, the Court correctly



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  explained all manners by which a defendant can violate § 924(c) by either using, carrying,

  or possessing the firearm. See Record Document 100. It is clear to the Court that Church

  has a pronounced misunderstanding of the law, and that he has failed to show that his

  attorney was acting in a professionally deficient manner by not raising the Bailey issue.

         b. Failure to File Notice of Appeal

         Church claims that, after sentencing, he instructed his attorney to file an appeal on

  his behalf. See Record Document 96. Church argues that, under Roe v. Flores-Ortega,

  528 U.S. 470, 160 F.3d 534 (2000), his attorney’s failure to file a notice of appeal fell below

  an objective standard of reasonableness. See Record Document 96. However, the court

  in Roe held that “[c]ounsel performs in a professionally unreasonable manner only by failing

  to follow the defendant's express instructions with respect to an appeal.” Id. at 478

  (emphasis added). In order for his claim to qualify under Roe, Church must show that he

  requested an appeal be filed. Id. at 485.

         In the instant case, Church offers little more than a self-serving allegation that he

  requested an appeal be filed. See Record Document 96. Church also provides his

  unsigned copy of legal correspondence from his attorney which states that his attorney saw

  no basis for an appeal, followed by a space for Church to sign his name in concurrence

  with the opinion that no appeal should be filed. See Record Document 96. However,

  Church offers no evidence, only allegations, that he requested an appeal be filed.

         The Fifth Circuit Court of Appeals in United States v. Harger, 354 Fed. Appx. 151

  (5th Cir. 2009) held that a district court clearly errs when it fails to hold an evidentiary

  hearing on a § 2255 motion when the defendant “declares under penalty of perjury that he



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  explicitly instructed his lawyer to [file a notice of appeal]” and the Government’s evidence

  “does not contradict [the defendant’s] sworn statement”. In the instant case, Church’s

  attorney has provided an affidavit which states that Church never requested an appeal be

  filed, as well as a copy of the aforementioned legal correspondence signed by Church. See

  Record Document 102-2. This evidence directly contradicts Church’s allegations. Under

  these circumstances, the Court finds Harger and Roe to be inapplicable, and therefore the

  Court has no basis to find that Church’s attorney was acting in a professionally deficient

  manner, and thus Church’s claim must fail.

         c. Failure to File a Motion to Suppress Evidence

         Church claims that he received ineffective assistance of counsel when his attorney

  failed to move to suppress the physical evidence against him. See Record Document 96.

  Specifically, Church argues that he “was not at the residence when the search warrant was

  executed”, that he “was not the individual that sold the undercover police drugs”, and that

  “the house in question where the drugs and guns were located were not in the petitioner’s

  name or any of his close family members.” See Record Document 96. From this Court’s

  review, Church appears to be making a sufficiency of the evidence argument. However,

  Church waived this argument by pleading guilty. See United States v. Stevens, 487 F.3d,

  232 (5th Cir. 2007); United States v. Bell, 966 F.2d 914 (5th Cir. 1992). During his guilty

  plea hearing, this Court specifically asked Church if he thought the Government could

  prove him guilty beyond a reasonable doubt on both counts he was pleading to. See

  Record Document 100. Church stated “Yes, sir” to both counts after the elements of the

  offense were read to him. See Record Document 100. Church’s arguments must fail as



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  a matter of law.

         Nonetheless, even if Church was arguing a Fourth Amendment violation, and he

  hadn’t waived this argument, his arguments would still fail. Church does not specify the

  legal basis for his arguments, nor does he offer support for why these circumstances would

  merit a suppression of the evidence against him. If Church is implying that his Fourth

  Amendment rights were violated in some way, it is his burden to prove that “the issue is

  meritorious and that the evidence would be excludable.” See Ward v. Dretke, 420 F.3d

  479, 488 n.19 (5th Cir. 2005). Church’s § 2255 motion is devoid of any such proof. As

  such, this Court finds that Church has failed to show that a motion to suppress would have

  been successful, and so he has not demonstrated that he was prejudiced by his attorney’s

  actions.

         The filing of pre-trial motions, such as motions to suppress and motions to quash,

  is one of numerous decisions which counsel must make as part of trial strategy. Murray

  v. Maggio, 736 F.2d 279, 281 - 283 (5th Cir. 1984); Schwander v. Blackburn, 750 F.2d 494,

  500 (5th Cir. 1985). Strategic decisions are viewed with considerable “deference

  commensurate with the reasonableness of the professional judgments on which they are

  based.” Strickland v. Washington, 466 U.S. at 681. In the instant case, Church asserts no

  valid basis upon which his attorney could have moved to suppress the evidence. Nowhere

  in his § 2255 motion does Church challenge the validity of the search warrant or allege that

  the Government otherwise violated any of his rights in obtaining the evidence. The Court

  finds that Church has not overcome the presumption that his attorney’s actions were part

  of trial strategy, and thus there is no indication that his attorney was acting in a



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  professionally deficient manner. Again, Church’s claim must fail.

  II.    Evidentiary Hearing

         28 U.S.C. § 2255(b) requires the court to hold an evidentiary hearing on a

  defendant’s claim, “unless the motion and the files and records of the case conclusively

  show that the prisoner is entitled to no relief.” In the instant case, it is clear to the Court,

  after a thorough review of the record and applicable jurisprudence, that Church is entitled

  to no relief, and therefore an evidentiary hearing is unwarranted.

                                         CONCLUSION

         The Court finds that Church’s claims of ineffective assistance of counsel are without

  merit. See 18 U.S.C. § 924(c); Roe v. Flores-Ortega, supra; United States v. Harger,

  supra; Ward v. Dretke, supra. Furthermore, because Church is entitled to no relief, the

  Court finds that an evidentiary hearing regarding his claim is unwarranted. See 28 U.S.C.

  § 2255(b). Accordingly, Church’s Motion to Vacate, Set Aside, or Correct Sentence Under

  28 U.S.C. § 2255 (Record Document 96) be and is hereby DENIED WITH PREJUDICE.




         Pursuant to Rule 11(a) of the Rules governing § 2255 proceedings for the United



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 States District Courts, this Court must issue or deny a certificate of appealability when it

 enters a final order adverse to the applicant. “Before entering the final order, the court may

 direct the parties to submit arguments on whether a certificate should issue.” Rule 11(a)

 Rule Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or District Judge issues a certificate of appealability, an

 appeal may not be taken to the court of appeals.

         In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

         An order consistent with the instant Memorandum Ruling shall issue herewith.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 18th day of October,

 2011.




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